        Case 1:12-cv-03519-RDB Document 51 Filed 03/27/18 Page 1 of 1
              Case 1:12-cv-03519-RDB           Documenl50-1      Filed 03/26/18    Page 1 of 1



                             IN THE UNITED STATES I)ISTRICT COURT
                                 FOR THE DISTRICT OF MARYLAND
                                      (NORTHERN DIVISION)

 R1CKY HENSON,eta/.,

                       Plaintiffs,
 v.                                                    Civil Action No.: RDB-12.35l9

 SANTANDER           CONSUMER         USA INC., et.
 0/.,
                        Defendants.




      ORDER GRANTING MOTION FOR LEAVE FOR WITHI)RA WAL OF COUNSEL

         This Cause having come before the Court on Defendants',            Santander     Consumer   USA,

Inc., NCB Management             Services,   Inc., and Commcrcial   Recovery   Systems,    Inc. (hereafter

"Defendants"),      Motion for Leave for Withdrawal of Counsel (the "Motion"),          the Court, having

reviewed the Motion, and being otherwise duly advised, hereby

         ORDERS and AD.JUDGES as follows:

         1.        The Motion is GRANTED.

         2.        Brent R. Gary, Travis A. Sabalewski, and Reed Smith LLP are hereby removed as

counsel of record for the Defendants.          The Clerk is directed to remove these parties from the

distribution    of further notices in this matter.

         DONE AND ORDERED               in Chambers, this   02.(, ~ day of March, 2018.



                                                            M~-.1e:16
                                                     Hon. Richard D. Bennett
                                                     UNITED STATES DISTRICT JUDGE
